                                   IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                           STATESVILLE DIVISION
                                   CIVIL ACTION NO. 5:21-CV-00152-KDB-DSC


               DAWN TRIPLETT,                                 )
                                                              )
                                 Plaintiff,                   )
                                                              )
               v.                                             )                   ORDER
                                                              )
               MOUNTAIN RUN SOLUTIONS LLC,                    )
                                                              )
                                Defendant.                    )



                      THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

              Affidavit [for Simer Kaur]” (document #8) filed December 2, 2021. For the reasons set forth

              therein, the Motion will be granted.


                      The Clerk is directed to send copies of this Order to counsel for the parties and to the

              Honorable Kenneth D. Bell.


                      SO ORDERED.


Signed: December 2, 2021




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